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                         UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                        CASE NO.: 6:22-cv-02210-PGB-EJK

CHRISTIAN S. KENNEDY,
individually, and on behalf of all others
similarly situated,

          Plaintiff,

v.

HEALTHCARE REVENUE
RECOVERY GROUP, LLC; and
INPATIENT CONSULTANTS
OF FLORIDA, INC.,


         Defendants.
_____________________________________/


       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

      Plaintiff, Christian S. Kennedy, and Defendants, Healthcare Revenue

Recovery Group, LLC, and Inpatient Consultants of Florida, Inc. (“the

Parties”), by and through respective undersigned counsel, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby file this Joint

Stipulation of Dismissal with Prejudice of the above-styled action. Plaintiff and

Defendants shall each bear their own attorneys’ fees and costs.

DATED: June 8, 2023.
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                         CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on June 8, 2023, via the Court Clerk’s CM/ECF system which will provide

notice      to   the   following:   Alexander    J.   Taylor,    Esquire     at

ataylor@sulaimanlaw.com (Attorneys for Plaintiff).




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